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11
11    Attorneys for Official Committee of Equity Security Holders

12
12                                UNITED STATES BANKRUPTCY COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
13
13                                  SAN FERNANDO VALLEY DIVISION

14
14    In re:                                                  Lead Case No.: 1:17-bk-12408-MB
                                                              Jointly administered with:
15
15    ICPW Liquidation Corporation, a California              1:17-bk-12409-MB
      corporation1,                                           Chapter 11 Cases
16
16
               Debtor and Debtor in Possession.               DECLARATION OF L. GEOFF GREULICH
17
17    ____________________________________                    IN SUPPORT OF MOTION IN SUPPORT
      In re:                                                  OF CONFIRMATION OF DEBTORS’ AND
18
18                                                            OFFICIAL COMMITTEE OF EQUITY
      ICPW Liquidation Corporation, a Nevada                  SECURITY HOLDERS’ JOINT PLAN OF
19
19    corporation2,                                           LIQUIDATION DATED JANUARY 12, 2018
20
20
               Debtor and Debtor in Possession.               Plan Confirmation Hearing:
21
21    ____________________________________                    Date:    February 12, 2018
                                                              Time:    1:30 p.m.
22
22         Affects both Debtors                               Place:   Courtroom “303”
                                                                      21041 Burbank Blvd.
23
23      Affects ICPW Liquidation Corporation, a                       Woodland Hills, CA
      California corporation only
24
24
         Affects ICPW Liquidation Corporation, a Nevada
25
25    corporation only

26
26
      1
27
27        Formerly known as Ironclad Performance Wear Corporation, a California corporation.
      2
          Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation.
28
28
                                                          1
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 1           I, L. Geoff Greulich, hereby declare as follows:
 2           1.      I am the Chief Executive Officer of ICPW Liquidation Corporation, a California
 3
      corporation, formerly known as Ironclad Performance Wear Corporation, a California corporation
 4
      (“ICPW California”), and ICPW Liquidation Corporation, a Nevada corporation, formerly known
 5
      as Ironclad Performance Wear Corporation, a Nevada corporation (“ICPW Nevada” and
 6

 7    collectively with ICPW California, the “Debtors”). The Debtors each filed a Voluntary Petition

 8    for relief under Chapter 11 of the Bankruptcy Code on September 8, 2017 (“Petition Date”). I

 9    became the Debtors’ Chief Executive Officer effective July 6, 2017.
10
             2.      In that capacity, I have personal knowledge of the facts set forth herein, and, if
11
      called as a witness, could and would testify competently with respect thereto.
12
             3.      I am submitting this Declaration in support of the joint motion (the “Motion”) filed
13
      by the Debtors and the Official Committee of Equity Security Holders (the “OCEH”) requesting
14

15    the Court to confirm the “Debtors’ and Official Committee of Equity Security Holders’ Joint Plan

16    of Liquidation Dated January 12, 2018” (the “Plan”), which I understand the Debtors and the

17    OCEH filed with the Court on January 12, 2018 as Docket Number 383. The Debtors and the
18
      OCEH are collectively referred to herein as the “Plan Proponents”.
19
             4.      I believe that the Plan represents the optimal outcome for these chapter 11
20
      bankruptcy cases (the “Cases”). I believe that the confirmation of the Plan provides the best
21
      vehicle for maximizing the distribution to the Shareholders (defined below); getting a significant
22

23    distribution made to the Shareholders on the earliest date possible under the circumstances; and

24    getting the Debtors’ remaining creditors (holding not yet allowed claims) paid in full with post-
25    petition interest in the fastest and most efficient manner possible.
26
             5.      For purposes of avoiding repetition, I hereby incorporate into my Declaration the
27
      facts set forth in the Sections II (History of the Debtors), III (the Debtors’ Sale Process), and IV
28

                                                        2
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 1    (Summary of Key Events Occurring Subsequent to the Sale Closing) of the Memorandum filed by
 2    the Plan Proponents in support of confirmation of the Plan (the “Memorandum”), which I
 3
      understand was filed with the Court on January 22, 2018 as Docket Number 408. To the best of
 4
      my knowledge, the facts set forth in those Sections of the Memorandum are true and correct. Any
 5
      terms which are defined in the Plan and/or the Memorandum which are not defined in this
 6

 7    Declaration shall be deemed to have the same definition in this Declaration.

 8           6.      Pursuant to the Sale Order, all of the Debtors’ executory contracts and unexpired

 9    leases that were not assumed and assigned to BBI were deemed rejected as of the Sale Closing,
10
      with the exception of the two supplier agreements with GGS and Grainger whose rejection can
11
      happen only following the entry of an order of the Court approving such rejection. As a result of
12
      the Debtors’ frustration with the lack of progress that was being made between BBI, on the one
13
      hand, and GGS and Grainger, on the other hand, the Debtors recently filed a motion to reject the
14

15    two supplier agreements with GGS and Grainger, but at the request of BBI, the Debtors never

16    submitted a proposed order to the Court providing for the rejection of those two agreements. BBI

17    has now advised the Debtors that BBI, on the one hand, and GGS and Grainger, on the other
18
      hand, have reached agreements on the forms of stipulations providing for the Debtors’ assumption
19
      of their two supplier agreements with GGS and Grainger and assignment of their two supplier
20
      agreements with GGS and Grainger to BBI (as modified by agreement of the parties), with the
21
      cure amounts agreed to and funded by BBI. I therefore expect that the Debtors will be filing a
22

23    motion with the Court to be considered concurrently with the Plan Confirmation Hearing

24    providing for the Debtors’ assumption of their two supplier agreements with GGS and Grainger
25    and assignment of their two supplier agreements with GGS and Grainger to BBI – in which case
26
      the Debtors will withdraw their previously filed rejection motion.
27

28

                                                      3
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 1           7.      While the Plan Proponents reserve all rights in this regard, the Plan Proponents are
 2    not at this time requesting the Court to approve any modifications to the Plan.
 3
             8.      The Plan Proponents have proposed the Plan in good faith. The Plan is the result
 4
      of negotiations between the Debtors and the OCEH – always with the best interests of creditors
 5
      and Shareholders in mind.
 6

 7           9.       None of the professionals employed in these Cases will be paid any of their

 8    outstanding post-petition fees and expenses until such fees and expenses have been approved by

 9    the Court.
10
             10.     It is my understanding that the only other realistic way for the Cases to end other
11
      than confirmation of the Plan would be to convert these Cases to chapter 7.               From my
12
      understanding of the facts of these Cases and the law as it has been explained to me, I believe that
13
      converting the Cases to chapter 7 would be a far worse result for Shareholders than confirming
14

15    the Plan for at least the following three reasons: One, under the Plan, the Escrow Agent is paying

16    all Allowed Claims out of the Remaining Estate Funds without charging any disbursing agent fee.

17    In contrast, I have been advised that a chapter 7 trustee would be paid the trustee’s fee (frequently
18
      referred to as the trustee’s “handle”) in accordance with the percentage formula set forth in § 326
19
      of the Bankruptcy Code.       This is very significant.    As indicated above, there is currently
20
      approximately $13,829,001 of Remaining Estate Funds, and the Debtors project having
21
      approximately $350,000 in their debtor-in-possession account at the time of the Plan
22

23    Confirmation Hearing. If the Cases were converted to chapter 7 instead of the Plan being

24    confirmed, and the chapter 7 trustee distributed this total sum of $14,179,001, I have been advised
25    that the chapter 7 trustee’s statutory fee under § 326 of the Bankruptcy Code (i.e., the trustee’s
26
      “handle”) would be approximately $448,620. In contrast, under the Plan, the Escrow Agent is
27
      charging no fee at all for making the payments the Escrow Agent will be making, and it is my
28

                                                       4
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                                    PROOF OF SERVICE OF DOCUMENT
  1
      I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
  2   address is: 10250 Constellation Boulevard, Suite 1700, Los Angeles, CA 90067

  3   A true and correct copy of the foregoing document entitled DECLARATION OF L. GEOFF GREULICH
      IN SUPPORT OF MOTION IN SUPPORT OF CONFIRMATION OF DEBTORS’ AND OFFICIAL
  4   COMMITTEE OF EQUITY SECURITY HOLDERS’ JOINT PLAN OF LIQUIDATION DATED JANUARY
      12, 2018 will be served or was served (a) on the judge in chambers in the form and manner required by
  5   LBR 5005-2(d); and (b) in the manner stated below:

  6   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
      controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
  7   hyperlink to the document. On January 22, 2018, I checked the CM/ECF docket for this bankruptcy case
      or adversary proceeding and determined that the following persons are on the Electronic Mail Notice List
  8   to receive NEF transmission at the email addresses stated below:

  9            Shiva D Beck sbeck@gardere.com, jcharrison@gardere.com
               Ron Bender rb@lnbyb.com
 10            Cathrine M Castaldi ccastaldi@brownrudnick.com
               Russell Clementson russell.clementson@usdoj.gov
 11            Aaron S Craig acraig@kslaw.com, lperry@kslaw.com
               Matthew A Gold courts@argopartners.net
 12            Monica Y Kim myk@lnbrb.com, myk@ecf.inforuptcy.com
               Jeffrey A Krieger jkrieger@ggfirm.com,
 13             kwoodson@greenbergglusker.com;calendar@greenbergglusker.com;jking@greenberggl
                usker.com
 14            Samuel R Maizel samuel.maizel@dentons.com,
                alicia.aguilar@dentons.com;docket.general.lit.LOS@dentons.com;tania.moyron@dentons
 15             .com;kathryn.howard@dentons.com
               Krikor J Meshefejian kjm@lnbrb.com
 16            Tania M Moyron tania.moyron@dentons.com, chris.omeara@dentons.com
               S Margaux Ross margaux.ross@usdoj.gov
 17            Susan K Seflin sseflin@brutzkusgubner.com
               John M Stern john.stern@oag.texas.gov, bk-mbecker@oag.texas.gov
 18            United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
               Sharon Z. Weiss sharon.weiss@bryancave.com,
 19             raul.morales@bryancave.com;geri.anderson@bryancave.com
               Douglas Wolfe dwolfe@asmcapital.com
 20
 21   2. SERVED BY UNITED STATES MAIL: On January 22, 2018, I served the following persons and/or
      entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true
      and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
 22   addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
      completed no later than 24 hours after the document is filed.
 23
      U.S. Securities and Exchange Commission
 24   Attn: Bankruptcy Counsel
      444 South Flower Street, Suite 900
 25   Los Angeles, CA 90071-9591
 26   Russell Clementson
      S Margaux Ross
 27   United States Trustee (SV)
      915 Wilshire Blvd, Suite 1850
 28   Los Angeles, CA 90017

       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
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  1                                                                           Service information continued on attached page

  2
      3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
  3   EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
      on January 22, 2018, I served the following persons and/or entities by personal delivery, overnight mail
  4   service, or (for those who consented in writing to such service method), by facsimile transmission and/or
      email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
  5   mail to, the judge will be completed no later than 24 hours after the document is filed.

  6   Served via Overnight Mail
      Hon. Martin R. Barash
  7   United States Bankruptcy Court
      21041 Burbank Boulevard, Suite 342
  8   Woodland Hills, CA 91367

  9   I declare under penalty of perjury under the laws of the United States of America that the foregoing is
      true and correct.
 10
       January 22, 2018                      Lourdes Cruz                                /s/ Lourdes Cruz
 11    Date                                  Type Name                                   Signature

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       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
